     Case 2:18-cv-01127-RB-SMV Document 1 Filed 12/03/18 Page 1 of 4



                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO


ROMAN FRANCO,

               Plaintiff,

v.

CHRISTMAS BY KREBS,

               Defendant.

                    NOTICE OF REMOVAL OF CIVIL ACTION

TO:    THE CLERK FOR THE UNITED STATES DISTRICT COURT FOR THE
       DISTRICT OF NEW MEXICO:

       PLEASE TAKE NOTICE that Defendant Christmas By Krebs (“Defendant”)

hereby removes the above-entitled action from the Fifth Judicial District Court, Chaves

County, New Mexico, to the United States District Court for the District of New Mexico

on the grounds that this Court has original jurisdiction under 28 U.S.C. § 1331, and this

action is one that may be removed to this Court by Defendant pursuant to 28 U.S.C.

§§ 1441 and 1446. Defendant respectfully submits the following statement of grounds

for removal on the basis of this Court’s federal question jurisdiction.

       1.      Plaintiff filed his complaint in the action Roman Franco vs. Christmas By

Krebs in the Fifth Judicial District, Chaves County, New Mexico, Case No. D-504-CV-

2018-01240 (the “Complaint” filed in the “State Court Action”) on November 1, 2018. A

true and correct copy of the Complaint is attached hereto as Exhibit 1.

       2.      On November 6, 2018, Plaintiff served the Complaint on Christmas By

Krebs. A true and correct copy of all filings received by the Defendant in the State Court

Action in addition to the Complaint is attached hereto as Exhibit 2.
    Case 2:18-cv-01127-RB-SMV Document 1 Filed 12/03/18 Page 2 of 4



       3.      This Court has original jurisdiction under 28 U.S.C. § 1331 because

Plaintiff has alleged a federal question. Specifically, Plaintiff’s Complaint purports to

state a cause of action under the Americans with Disabilities Act, 42 U.S.C. § 12101.

Thus, the Complaint itself, although filed in New Mexico state court, invokes the

jurisdiction of this Court pursuant to 28 U.S.C. § 1331. “A case arise[s] under federal

law within the meaning of § 1331 . . . if a well-pleaded complaint establishes either that

federal law creates the cause of action or that the plaintiff's right to relief necessarily

depends on resolution of a substantial question of federal law.” Empire Healthchoice

Assurance, Inc. v. McVeigh, 547 U.S. 677, 689–90 (2006). Accordingly, this matter is

removable under 28 U.S.C. § 1441(a).

       4.      To the extent the Complaint includes state law claims, such claims would

necessarily be based on the same operative facts as Plaintiff’s federal claim. Therefore,

this Court has supplemental jurisdiction over any state law claims arguably pled pursuant

to 28 U.S.C. § 1367, and those claims properly are removable under 28 U.S.C. § 1441(c).

       5.      Notice of this removal is effected properly and timely pursuant to 28

U.S.C. § 1446(b)(1) as it is filed within 30 days after Defendants were served with the

Summons and Complaint in the Action.

       6.      Based on the foregoing, this Action is properly removed to this Court.

       7.      Defendant has given written notice of this removal to all adverse parties,

in accordance with 28 U.S.C. § 1446(d). A copy of the Notice to Adverse Party of

Removal of Civil Action to Federal Court in the Fifth Judicial District of Chaves County,

New Mexico is attached as Exhibit 3.

       8.      Defendants filed the Notice to State Court of Removal of Civil Action in
    Case 2:18-cv-01127-RB-SMV Document 1 Filed 12/03/18 Page 3 of 4



the Fifth Judicial District of Chaves County, New Mexico and served Plaintiff with the

Notice, in accordance with 28 U.S.C. § 1446(d). A copy of the Notice to State Court of

Removal of Civil Action is attached as Exhibit 4.



       RESPECTFULLY SUBMITTED this 3rd day of December, 2018.


                                             Respectfully submitted,

                                             LITTLER MENDELSON, P.C.

                                             /s/ Charlotte Lamont
                                             Charlotte Lamont
                                             clamont@littler.com
                                             201 Third Street, NW, Suite 500
                                             Albuquerque, NM 87102
                                             505.944.9682 (telephone)
                                             505.213.0415 (facsimile)

                                             J. Mark Ogden
                                             mogden@littler.com
                                             2425 East Camelback Road
                                             Suite 900
                                             Phoenix, AZ 85016
                                             602.474.3601 (telephone)
                                             602.957.1801 (facsimile)


                                             ATTORNEYS FOR DEFENDANT
     Case 2:18-cv-01127-RB-SMV Document 1 Filed 12/03/18 Page 4 of 4




I hereby certify that I electronically
transmitted the attached document to
the Clerk’s Office using the CM/ECF
System for filing and transmittal of a
Notice of Electronic Filing to the
following if CM/ECF registrants, and
emailed a copy of same to any non-
registrants this 3rd day of December,
2018:


Samuel C. Wolf
Jiadai Lin
JONES, SNEAD, WERTHEIM & CLIFFORD, P.A.
P.O. Box 2228
Santa Fe, NM 87504-2228
sam@thejonesfirm.com
jiadai@thejonesfirm.com


/s/ Charlotte Lamont



FIRMWIDE:160764508.1 999999.3930
